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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

STEVEN SHADLE                   :
                      Plaintiff :
                                :              No. 4:25-CV-476
             v.                 :
                                :              (Chief Judge Brann)
PENNSYLVANIA STATE SYSTEM :
OF HIGHER EDUCATION;            :              Electronically Filed Document
COMMONWEALTH UNIVERSITY :
OF PENNSYLVANIA, TINA           :              Complaint Filed 3/14/25
MAUER, and BELINDA SAUERS       :
                                :
                    Defendants :

             BRIEF IN SUPPORT OF MOTION TO DISMISS
                                           Respectfully submitted,

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                                           Attorney General


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                           PROCEDURAL HISTORY

      On March 14, 2025, Plaintiff filed a Complaint, alleging violations of the

Uniformed Services Employment and Reemployment Rights Act (“USERRA”),

Fourteenth Amendment, 42 U.S.C. § 1985, and Pennsylvania’s Veterans’ Preference

Act. Doc. 1. Defendants timely moved to dismiss the Complaint under Rule 12(b)(6).

Doc. 6. Plaintiff then filed an Amended Complaint on July 2, 2025. Doc. 12.

Defendants timely moved to dismiss the Amended Complaint and now file this brief

pursuant to Local Rule 7.5.

                     STATEMENT OF ALLEGED FACTS

      On July 20, 1998, Plaintiff started employment in a union position with

Defendants Pennsylvania State System of Higher Education (“PASSHE”) and

Commonwealth University. Doc. 12 ¶¶ 21, 23.

      On January 13, 2023, Defendants PASSHE and Commonwealth University

posted a job for a Safety Inspector at the Lock Haven Campus. Id. ¶ 24. Defendant

Sauers, and Defendant Maurer’s as Sauers’ supervisor, allegedly had decision

making authority for this position. Id. ¶¶ 27-28.

      On January 19, 2023, Plaintiff submitted an application for the safety

inspector position. Id. ¶ 37. This application allegedly asked about claiming

eligibility for veterans’ preference which Plaintiff allegedly claimed. Id. ¶¶ 38-39.




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      On February 17, 2023, a non-party allegedly told Plaintiff he met the

minimum qualifications for the position. Id. ¶ 42.

      On February 28, 2023, Plaintiff allegedly provided Sauers with additional

information regarding his qualifications. Id. ¶ 46.

      Plaintiff received an interview for the position. Id. ¶ 53. The applicant log

indicated that Plaintiff met the minimum qualifications. Id. ¶ 55. None of the other

interviewed applicants allegedly were eligible for veterans’ preference. Id. ¶ 57. The

applicant log had a section regarding preferred qualifications, but the job description

did not, and the applicant log indicated that Plaintiff did not meet some or all of the

preferred qualifications. Id. ¶ 58-60. The applicant log also indicated that Holly

Evans, a female non-veteran, also did not meet some or all of the preferred

qualifications and indicated that she met the minimum qualifications but was not

among the most qualified applicants for that applicant pool. Id. ¶ 67. Plaintiff was

rejected for the position as he did not emerge among the most qualified candidates

following his interview. Id. ¶ 61, 66.

      On May 24, 2023, Plaintiff received an email from PASSHE and

Commonwealth University’s Human Resources informing him he was not selected

for the position. Id. ¶ 76. The January 2023 posting was not filled. Id. ¶ 78.

      On June 12, 2023, Defendants PASSHE and Commonwealth University

posted an application for Safety Inspector. Id. ¶ 83. Allegedly, Defendants Sauers



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and/or Maurer drafted the second posting and/or had input or decision making

authority into the same. Id. ¶ 84. The description of the position had not been

changed, the minimum qualifications had not been changed, but preferred

qualifications were added. ¶ 86-87.

       On June 27, 2023, Plaintiff submitted an application to the Safety Inspector

position and again claimed veterans’ preference. Id. ¶¶ 99, 108. Plaintiff met the

minimum qualifications but not the preferred qualifications. Id. ¶ 109. Plaintiff was

not interviewed for this position. Id. ¶ 112.

       On October 20, 2023, Plaintiff learned that Holly Evans was selected for the

position. Id. ¶ 113.

                            QUESTIONS PRESENTED

I.     Must the Court dismiss the claims against Defendants as they have immunity?
II.    Must the Court dismiss Plaintiff’s USERRA claim as he has failed to state a
       plausible claim?
III.   Must the Court dismiss Plaintiff’s Fourteenth Amendment claims as he has
       failed to state a plausible claim?
IV.    Must the Court dismiss Plaintiff’s § 1985 Conspiracy claim as he has failed
       to state a plausible claim?
V.     Must the Court dismiss Plaintiff’s Pennsylvania Veterans’ Preference Act
       claim as he has failed to state a plausible claim?
       Suggested Answer to All: Yes.




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                                   ARGUMENT

      A claim will be dismissed where the plaintiff has “failed to state a claim upon

which relief may be granted.” See Fed. R. Civ. P. 12 (b)(6). In determining this, a

court will generally only consider the allegations made within the complaint, as well

as the “documents that are attached to or submitted with the complaint … and any

matters incorporated by reference or integral to the claim, items subject to judicial

notice, matters of public record, order, [and] items appearing in the record of the

case.” Buck v. Hampton Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006) (citations

omitted); see also Pryor v. Nat’l. Collegiate Athletic Ass’n, 288 F.3d 548, 560 (3d

Cir. 2002) (courts may consider “documents whose contents are alleged he

complaint and those whose authenticity no party questions, but which are not

physically attached to the pleading.”). As Plaintiff cites on numerous occasions to

the contents of the two job descriptions and applicant logs (Doc. 12 ¶¶ 24-25, 29-30,

32, 34-35, 55, 57-58, 60-61, 65, 67, 85-89, 98, 103, and 105), Defendants attach

them hereto as Exhibits A-D.

      A court may, however, treat a motion to dismiss as one of summary judgment

under Federal Rule of Civil Procedure 12(d) if it considers matters outside of the

pleadings. Fed.R.Civ.P. 12(d).

      In order to survive a motion to dismiss, a plaintiff must establish facts that

“raise a right to belief above the speculative level.” Vitaulic Co. v. Tieman, 499 F.3d



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227, 235 (3d Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555

(2007)). A court, however, is not required to give credit to legal conclusions or bald

assertions contained in the complaint. See Evancho v. Fisher, 423 F.3d 347, 351 (3d

Cir. 2005) (citing In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1429-30

(3d Cir. 1997)). Finally, “[t] is not … proper to assume that [a plaintiff] can prove

facts that it has not alleged[.]” Associated Gen. Contractors of Cal. v. Cal. State

Council of Carpenters, 459 U.S. 519, 526 (1983).

       In this case, not only are Defendants entitled to immunity on Plaintiff’s claims,

but Plaintiff also fails to state plausible claims of violations of USERRA,

Conspiracy, the Fourteenth Amendment, and the Pennsylvania Veterans’ Preference

Act.

I.     Defendants are entitled to immunity.

       a. Statutory Sovereign Immunity

       To the extent Defendants Maurer and Sauers are being sued in their individual

capacities, the Pennsylvania General Assembly has reaffirmed the principle of

sovereign immunity as it applies to the Commonwealth and its employees in all cases

except where a specific exemption is created. 1 Pa. C.S. § 2310.1 Further, PASSHE

is a state “instrumentality” entitled to state sovereign immunity. Skehan v. State Sys.



1
  The General Assembly has specifically identified nine limited exceptions to
sovereign immunity, none of which apply here.

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of Higher Educ., 815 F.2d 244, 249 (3d Cir. 1987); 24 P.S. § 20-2002-A. The same

is true for Commonwealth University. See 24 P.S. § 20-2002-A(a)(9).

      As such, Plaintiff’s claims under the Pennsylvania Veterans’ Preference Act

made against Sauers and Maurer, in their individual capacity, and PASSHE and

Commonwealth University are barred by statutory sovereign immunity and must be

dismissed.

      b. Eleventh Amendment Immunity

      The Eleventh Amendment provides immunity to states from suit in federal

court, as well as suits for monetary damages against state officials acting in their

official capacity. Seminole Tribe of Florida v. Florida, 517 U.S. 44, 58 (1996);

Kentucky v. Graham, 473 U.S. 159, 169 (1985). PASSHE and Commonwealth

University are arms of the state. 24 P.S. § 20-2002-A (a)(9). Eleventh Amendment

immunity has not been waived here. See Pa. C.S.A. § 8521(b). As such, PASSHE

and Commonwealth University cannot be held liable under § 1983 and such claims

must be dismissed. See Sanders v. Pa. State Sys. of Higher Educ., 811 Fed.Appx.

139, 141-142 (3d Cir. 2020) (affirming the dismissal of claims against PASSHE and

a member university because they are protected by Eleventh Amendment immunity);

Boykin v. Bloomsburg Univ. of Pa., 893 F.Supp. 378, 394 (M.D. Pa. 1995) (“[A] suit

against … [Pennsylvania] agencies [under Section 1983], such as Bloomsburg

University, is proscribed by the Eleventh Amendment.”).


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         To the extent Defendants Maurer and Sauers are being sued in their official

capacity, the Eleventh Amendment to the United States Constitution precludes

lawsuits against a state in federal court, regardless of the type of relief sought.

Graham, 437 U.S. at 165-67; Pennhurst State School & Hospital v. Haldeman, 465

U.S. 89 (1984). Individual defendants acting in their official capacity have Eleventh

Amendment immunity. See e.g., Ellington v. Cortes, 532 F.Appx. 53, 56 (3d Cir.

2013). Eleventh Amendment immunity also applies to pendent or supplemental state

law claims, such as the Pennsylvania Veteran’s Preference Act claim here. Reiff v.

Phila Cnty. Court of Common Pleas, 827 F.Supp. 319, 324 (E.D. Pa. 1993) (citing

Pennhurst, 465 U.S. at 89).

         The claims against Defendants must be dismissed as they are immune from

suit.

II.      Plaintiff has failed to state a claim under USERRA

         Plaintiff vaguely claims Defendants violated USERRA. Doc. 12 ¶¶ 120-131.

Plaintiff’s USERRA claim is simply one of discrimination. Id.

         Section 4311 prohibits employers from denying a military service member a

promotion because of their military service membership, performance of service, or

other obligation due to that service. 38 U.S.C. § 4311(a). A violation occurs if the

military membership, service, or obligation is a substantial or motivating factor in

the employer’s decision. 38 U.S.C. § 4311(c)(1).


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      To establish such a claim, Plaintiff must show that his military service was a

substantial or motivating factor in not being selected for the position. Murphy v.

Radnor Twp., 542 F.Appx. 173, 176-177 (3d Cir. 2013). “Military status is a

motivating factor if the defendant relied on, took into account, considered, or

conditioned its decision on that consideration.” Id. at 177. Factors that may be taken

into consideration to establish this include: time proximity between Plaintiff’s

military activity and his non-selection, inconsistencies between reasons provided by

Defendants and Defendants’ actions, Defendants’ express hostility towards military

members, and disparate treatment. Sheehan v. Dept. of Navy, 240 F.3d 1009, 1014

(Fed. Cir. 2001).

      Here, Plaintiff makes no showing that there is any proximity between his

military service and his non-selection to the position. While Plaintiff attempts to

show proximity through threadbare recitals of the legal elements and unsupported

conclusions, this does not suffice. Plaintiff had not had any military involvement for

over twenty-five years at the time he applied for these positions. As such, there is

not even a remote possibility of proximity.

      Nor does Plaintiff allege any inconsistent actions by Defendants, hostility, or

disparate treatment. Instead, Plaintiff attempts to establish inconsistent actions by

using actions of a non-party who was not involved with the hiring process

whatsoever. Doc. 12 ¶ 127.



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        Plaintiff makes bald assertions that he was not selected for the position due to

his military service and attempts to support that accusation by claiming he was not

selected simply because a female non-veteran was selected. This is not enough to

establish that Plaintiff’s prior military service was a substantial or motivating factor

in him not being selected for the position. Gordon v. Wawa, Inc., 388 F.3d 78 (3d

Cir. 2004) (dismissing an USERRA claim on a motion to dismiss where plaintiff

failed to allege the adverse action was motivated by military service).

        Further, Plaintiff was not selected for the position because he consistently

scored lower than several other candidates. See Exhibit B (January 2023 Applicant

Log) (plaintiff was ranked last among those selected for a first round interview with

a 24 and ranked second to last following the first round interview); see also Exhibit

D (June 2023 Applicant Log) (plaintiff was ranked last and not offered a first round

interview).

        Thus, Plaintiff’s claim under USERRA must be dismissed.

III.    Plaintiff has failed to state a claim under the Fourteenth Amendment

        a. Due Process

        Plaintiff alleges a Fourteenth Amendment Procedural Due Process claim

against Defendants claiming that by failing to provide Plaintiff veteran’s preference,

which he contends to have a property interest in. Doc. 12 ¶¶ 133-147. As there is no

property interest in the veterans’ employment preference for substantive due process


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purposes, Plaintiff’s claim can only be one of procedural due process. Gikas v. Wash.

Sch. Dist., 328 F.3d 731, 736-37 (3d Cir. 2003). Plaintiff’s interest is not in the

position itself, but rather in the preference he is to be afforded. Carter v. City of

Philadelphia, 989 F.2d 117, 122 (3d Cir. 1993).

      Due process requires that deprivation of veterans’ preference “be preceded by

notice and opportunity for hearing appropriate to the nature of the case.” Cleveland

Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985) (internal quotations omitted).

However, there is no allegations concerning a procedure that Plaintiff was deprived

of. In fact, to the extent that Plaintiff argues he should have been notified of the

requisite requirements for the position, the Third Circuit has held that such notice is

not required because there is no property interest at that time. Gikas, 328 F.3d at

739. The Veterans’ Preference Act’s purpose is to “provide a preference in the final

selection process among candidates of comparable quality.” Merrell v. Chartiers

Valley Sch. Dist., 855 A.2d 713, 721 (Pa. 2004) (finding where an applicant did not

reach the final level of consideration, the veterans’ preference had not “ripened.”).

      Here, Plaintiff did not reach the final selection process, as he was not offered

a second interview. Exhibits B and D. As such, he had no property interest in the

veterans’ preference, as the preference had not yet materialized. Further, Plaintiff

has not alleged that he was deprived of any procedure he was allegedly due.

      Thus, Plaintiff’s due process claim must be dismissed.



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      b. Equal Protection

      Plaintiff alleges Defendants violated his equal protection rights when they

hired a woman instead of him. Doc. 12 ¶¶ 149-154. To establish this claim, Plaintiff

must have alleged that “(1) he or she is a member of a protected class; and (2) that

the government treated similarly situated individuals outside of the protected class

differently.” Reed v. Chambersburg Area Sch. Dist., 951 F.Supp. 2d 706, 716 (M.D.

Pa. 2013). Gender is a quasi-suspect class. Hassan v. City of New York, 804 F.3d

277, 298 (3d Cir. 2015).

      The only allegation Plaintiff makes to support this claim is the bald assertion

that he was discriminated against because a female was selected for the position over

him. Doc. 12 ¶¶ 149-154. This, without more, is not enough to support a claim for

an equal protection violation. Roper v. Luzerne County, 2023 WL 2563082 at *7

(M.D. Pa. 2023) (“The bald assertion that male employees were treated in a

dissimilar manner, without more, does not provide the defendants with the not

required to frame a responsive pleading to [plaintiff’s] equal protection claim.”).

Further, there are no factual allegations that suggest a “discriminatory state of mind.”

Ashcroft v. Iqbal, 556 U.S. 662, 683 (2009). Notably, this is the only allegations

Plaintiff makes in regards to alleged gender discrimination as the rest of his

complaint focuses solely on discrimination based on his veteran status. Being a

veteran is not a protected class. Robins v. Wetzel, 2022 WL 4533850 at *2, n. 2 (3d



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Cir. 2022) (protected class designation is reserved for categories such as race,

religion, or gender); Benoit v. Pa. Bd. of Probation & Parole – West Div., 2010 WL

481021 at *2, n.1 (E.D. Pa. 2010) (veteran status is not a protected class). Plaintiff

fails to make any allegations that Holly Evans, as a female, was treated differently

than he was.

       Therefore, Plaintiff’s equal protection claim must be dismissed as there are no

allegations of gender discrimination or discriminatory intent.

IV.    Plaintiff has failed to state a claim of conspiracy under 42 U.S.C. § 1985

       Plaintiff brings a conspiracy claim under 42 U.S.C. § 1985 against Maurer

and Sauers. Doc. 12 ¶¶156-159. To state a conspiracy claim under 42 U.S.C. § 1985,

Plaintiff must have alleged: “(1) a conspiracy; (2) for the purpose of depriving …

any person or class of persons of the equal protection of the laws, or of equal

privileges and immunities under the laws; and (3) an act in furtherance of the

conspiracy; (4) whereby a person is either injured in his person or property or

deprived of any right or privilege of a citizen of the United States.” United Bhd. of

Carpenters & Jointers v. Scott, 463 U.S. 825, 828-29 (1983).

       There is a heightened pleading requirements of factual specificity for claims

under § 1985. District Council 47 v. Bradley, 795 F.2d 310 (3d Cir. 1986); Bougher

v. University of Pittsburgh, 713 F.Supp. 139, 145 (W.D. Pa. 1989) (heightened

pleading requirements apply to 42 U.S.C. § 1985(3)), aff’d, 882 F.2d 74 (3d Cir.


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1989). In fact, “a plaintiff may not make ‘bare conclusory allegations of conspiracy

or concerted action,’ but is required to ‘expressly allege an agreement or make

averments of communication, consultation, cooperation, or command from which

such agreement can be inferred.’” Burden v. Wilkes-Barre Area School Dist., 16

F.Supp. 569, 573 (M.D. Pa. 1998) (quoting Flanagan v. Shively, 783 F.Supp. 922,

928 (M.D. Pa. 1992), aff’d, 980 F.2d 722 (3d Cir. 1992), cert. denied, 510 U.S. 829

(1993). These averments are to be specific and “must be supported by the facts

bearing out the existence of the conspiracy and indicating its broad objectives and

the role each defendant allegedly played in carrying out those objectives.” Id.

      Here, Plaintiff has wholly failed to include any factual allegations regarding

his claim for conspiracy other than his threadbare recitations of the elements. Doc.

12 ¶¶ 156-159. Notably, there are no facts that Defendants Maurer and Sauer had

communications regarding Plaintiff, any discriminatory intent, or any objective that

they sought to achieve. As threadbare recitals of the elements do not support a cause

of action, Plaintiff’s conspiracy claim must be dismissed. Iqbal, 556 U.S. at 678

(citing Twombly, 550 U.S. at 555).

V.    Plaintiff has failed to state a claim under the Veterans’ Preference Act

      Plaintiff alleges Defendants violated his rights under the Veterans’ Preference

Act by not selecting him for the Safety Inspector position when he had claimed the

preference. Doc. 12 ¶¶ 161-175.


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      When a veteran possesses the required qualifications for a non-civil service

position “and the veteran is otherwise eligible for appointment,” preference must be

given to the veteran. 51 Pa. C.S.A. 7104(a). The Pennsylvania Supreme Court, as

described by the Third Circuit, has defined “qualified,” under this statute, as the

“ability to perform the job at the level of skill and with the expertise demanded by

the employer.” Markel v. McIndoe, 59 F.3d 463, 472 (3d Cir. 1995) (quoting

Brickhouse v. Spring-Ford Area School Dist., 656 A.2d 483, 487 (Pa. 1995)). Here,

Plaintiff did not have the preferred qualifications for the positions he applied for. See

Exhibits B and D. Thus, Plaintiff did not have the abilities and expertise as required

by the employer. See Markel, 59 F.3d at 472.

      The veterans’ preference is not absolute. Merrell, 855 A.2d at 720. The

Veterans’ Preference Act’s purpose is to “provide a preference in the final selection

process among candidates of comparable quality.” Id. at 721 (emphasis added)

(finding where an applicant did not reach the final level of consideration, the

veterans’ preference had not “ripened.”). Here, Plaintiff was never offered a second

interview. See Exhibits B and D. As Plaintiff never reached the final selection

process, his entitlement to veterans’ preference never materialized. See Merrell, 855

A.2d at 721.




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      Thus, Plaintiff’s claim for a violation of the Veterans’ Preference Act must be

dismissed as he was never denied the preference as he did not reach the final

selection process.

                                 CONCLUSION

      Based upon the foregoing, Defendants respectfully request that this Court

GRANT their motion to dismiss the complaint.

                                              Respectfully submitted,

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                                              Attorney General


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Date: July 15, 2025                           Counsel for Defendants




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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 STEVEN SHADLE                   :
                       Plaintiff :
                                 :               No. 4:25-CV-476
              v.                 :
                                 :               (Chief Judge Brann)
 PENNSYLVANIA STATE SYSTEM :
 OF HIGHER EDUCATION;            :               Electronically Filed Document
 COMMONWEALTH UNIVERSITY :
 OF PENNSYLVANIA, TINA           :               Complaint Filed 3/14/25
 MAUER, and BELINDA SAUERS       :
                                 :
                     Defendants :

                        CERTIFICATE OF COMPLIANCE
      I, Tyler Jefferies, Deputy Attorney General for the Commonwealth of

Pennsylvania, hereby certify that the foregoing Brief in Support of Motion to

Dismiss complies with the Content and Length requirements described in Rule 7.8

and further certify, with reliance upon the word count feature of the system used to

prepare this brief, that the foregoing filing is comprised of nineteen (19) pages and

less than 5000 words.
   Case 4:25-cv-00476-MWB        Document 15   Filed 07/15/25   Page 21 of 22




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                                 :
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                         CERTIFICATE OF SERVICE
      I, Tyler Jefferies, Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General, hereby certify that on July 15, 2025, I

caused to be served a true and correct copy of the foregoing document titled Brief in

Support of Motion to Dismiss to the following:

 VIA ELECTRONIC FILING
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